                    IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-60

                                            No. 403A20

                                        Filed 11 June 2021

     IN THE MATTER OF: I.K.


           Appeal pursuant to N.C.G.S. § 7A-30(2) from the decision of a divided panel of

     the Court of Appeals, 848 S.E.2d 13 (N.C. Ct. App. 2020), affirming an order entered

     on 22 March 2019 by Judge Samantha Cabe in District Court, Orange County. Heard

     in the Supreme Court on 23 March 2021.


           Stephenson &amp; Fleming, LLP, by Deana K. Fleming, for petitioner-appellee
           Orange County Department of Social Services.

           Sean P. Vitrano for respondent-appellant father.


           BARRINGER, Justice.

¶1         Respondent is the biological father of I.K. (Iliana)1 and appeals from the Court

     of Appeals decision affirming the trial court’s permanency-planning order granting

     guardianship of Iliana to her maternal grandmother. Since we conclude that the trial

     court’s findings of fact are supported by clear and convincing evidence and the

     findings of fact support the conclusion that respondent acted inconsistently with his

     constitutionally protected status as Iliana’s parent, we affirm.



           1 A pseudonym is used to protect the juvenile’s identity and for ease of reading. While

     the parties agreed to a different pseudonym, we use the pseudonym used by the Court of
     Appeals for consistency.
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                          I.   Factual and Procedural Background

¶2           Iliana was born to respondent and Iliana’s mother (Patty)2 in 2012. On 10

     November 2014, the Rockingham County Department of Social Services (RCDSS)

     received an initial Child Protective Services (CPS) report for Iliana and her half

     sibling.3 CPS was concerned that Iliana was living in a hoarder home, that Iliana’s

     parents were using illegal substances, that her parents were selling their food

     stamps, and that her parents were having domestic discord. After RCDSS completed

     an assessment, services were not recommended, and the case was closed on 6 January

     2015.

¶3           On 16 October 2015, the Orange County Department of Social Services

     (OCDSS) received a CPS report alleging that Iliana’s half sibling was exposed to drug

     abuse and domestic violence while in Patty’s care. Respondent and Patty did not live

     together at the onset of OCDSS’s involvement with Patty. On 8 January 2016, Patty

     was sentenced to forty-five days in jail for shoplifting and violating her probation. On

     26 April 2016, Patty tested positive for cocaine and was jailed for violating her

     probation.

¶4           After Patty was jailed, respondent stated that he could not care for Iliana due


             2 A pseudonym is used for Iliana’s mother for ease of reading. Furthermore, Patty is

     subject to the trial court’s order ceasing reunification as to Iliana and appealed the trial court
     order to the Court of Appeals. However, Patty neither filed a notice of appeal of the Court of
     Appeals opinion affirming the trial court’s order to this Court, nor did she file a brief
     regarding the instant case.
            3 Iliana’s half sibling, who has the same mother, is not the subject of this appeal.
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     to his work schedule, and he voluntarily placed Iliana in her maternal grandmother’s

     care. After Patty was released from jail, respondent and Patty met with OCDSS and

     agreed that Iliana would remain with her maternal grandmother “until the housing

     situation was resolved and [respondent and Patty] engaged in substance abuse

     treatment.”

¶5         On 27 May 2016, respondent completed an intake with a substance abuse

     recovery center but refused to submit to drug screens and admitted to the social

     worker that he would test positive for marijuana. By August 2016, respondent and

     Patty were homeless and were staying with respondent’s mother. Due to respondent’s

     substance abuse and lack of stable housing, OCDSS obtained nonsecure custody of

     Iliana on 10 August 2016. Shortly thereafter, respondent and Patty agreed to the

     entry of a consent order that granted temporary custody of Iliana to her maternal

     grandmother.

¶6         After a hearing on 15 September 2016, the trial court entered an order on 6

     December 2016 adjudicating Iliana to be a dependent juvenile and ordering her to

     remain in the temporary legal and physical custody of her maternal grandmother.

     The trial court ordered respondent and Patty to complete drug screens, seek

     substance abuse treatment, and comply with all treatment recommendations.

     However, respondent was arrested in October 2016 and was subsequently convicted

     of assault on a female after a domestic violence incident between himself and Patty.
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¶7           The trial court held a hearing on 15 December 2016 to review the case and

       found that respondent was not complying with drug screens and that domestic

       violence was a new concern due to the domestic violence incident between respondent

       and Patty.

¶8           After the first permanency-planning hearing held on 2 March 2017, the trial

       court entered an order setting the permanent plan for Iliana as guardianship and a

       secondary plan of reunification. At the time of the hearing, respondent had refused

       eight out of fifteen requested drug screens and stated on one of the refusals that he

       would likely test positive for marijuana.

¶9           On 4 May 2017, respondent requested that the trial court review the case to

       determine whether the trial court’s last order was in Iliana’s best interests, including

       the provisions regarding visitation. The trial court granted respondent unsupervised

       visits for a minimum of one hour each week after a review hearing on 18 May 2017.

       However, the trial court stated that the visits would be suspended or revised if

       respondent was not in full compliance with his substance abuse treatment and did

       not submit negative drug screens.

¶ 10         On 15 June 2017, a second permanency-planning hearing was held. In an order

       entered on 17 July 2017, the trial court maintained the permanent plan of

       guardianship and the secondary plan of reunification for Iliana. The trial court found

       that respondent and Patty had refused a significant number of drug screens and had
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       not engaged in services to address their domestic violence issues. The trial court

       subsequently ordered respondent and Patty to submit to random drug screens,

       continue substance abuse treatment, abstain from domestic violence, and maintain

       safe and stable housing. Respondent was also required to participate in a program

       for domestic violence perpetrators.

¶ 11         On 4 July 2017, respondent and Patty appeared under the influence of a

       substance while in Iliana’s presence. OCDSS rescinded unsupervised visitation on

       19 July 2017. Respondent and Patty had another child together in September 2017.

¶ 12         On 7 November 2017, the trial court entered a permanency-planning order in

       which it granted guardianship of Iliana to her maternal grandmother and ceased

       reunification efforts with respondent due to a lack of progress on his case plan. The

       trial court incorporated by reference the social worker’s court report, which

       documented that respondent continued to reside in his mother’s home despite safety

       concerns, respondent and Patty had another child that resided in respondent’s

       mother’s home, respondent could only miss one more session before being terminated

       from the domestic violence perpetrator program, and both respondent and Patty last

       refused a drug screen on 5 June 2017. Respondent and Patty timely appealed the trial

       court’s order granting guardianship to Iliana’s maternal grandmother.

¶ 13         In March 2018, both respondent and Patty completed their substance abuse

       program at the substance abuse recovery center. However, on 20 April 2018, Patty
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       displayed drug-seeking behavior evidenced by text messages she sent to respondent.

¶ 14         On 7 August 2018, in a unanimous decision, the Court of Appeals vacated the

       trial court’s order and remanded the case to the trial court based on its conclusion

       that there were insufficient findings to support the trial court’s conclusion that

       respondent was acting inconsistently with his constitutionally protected status as a

       parent.

¶ 15         Shortly thereafter, on 23 August 2018, respondent was involved in a domestic

       incident with his mother. The emergency response call log indicated that respondent

       was verbally aggressive toward his mother and was “tearing up” respondent’s

       mother’s home. On 4 September 2018, respondent tested positive for marijuana. Also,

       RCDSS completed a home visit on 12 December 2018 and found that respondent’s

       mother’s home continued to pose safety concerns for Iliana.

¶ 16         On 3 and 18 January 2019, the trial court held another permanency-planning

       hearing regarding Iliana. The trial court again found that respondent had acted

       inconsistently with his protected status as a parent and determined that

       guardianship with Iliana’s maternal grandmother was in Iliana’s best interests.

                                 II.   Respondent’s Appeal

¶ 17         Respondent timely appealed to the Court of Appeals. In a divided opinion filed

       on 18 August 2020, the Court of Appeals affirmed the trial court’s order. See In re

       I.K., 848 S.E.2d 13, 24 (N.C. Ct. App. 2020). Respondent then appealed to this Court.
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¶ 18         On appeal, respondent argues that the trial court’s conclusion that he acted

       inconsistently with his constitutionally protected status as a parent to Iliana is not

       supported by clear and convincing evidence. Respondent specifically challenges the

       trial court’s findings of fact 26(b)−(c), 28, 30, 37, and 43(a), which relate to his

       substance abuse, housing situation, and involvement in domestic violence.

                                 III.   Standard of Review

¶ 19         “[A] trial court’s determination that a parent’s conduct is inconsistent with his

       or her constitutionally protected status must be supported by clear and convincing

       evidence.” Adams v. Tessener, 354 N.C. 57, 63 (2001). “The clear and convincing

       standard requires evidence that should fully convince. This burden is more exacting

       than the preponderance of the evidence standard generally applied in civil cases, but

       less than the beyond a reasonable doubt standard applied in criminal matters.”

       Scarborough v. Dillard’s, Inc., 363 N.C. 715, 721 (2009) (cleaned up) (first quoting In

       re Will of McCauley, 356 N.C. 91, 101 (2002); then quoting Williams v. Blue Ridge

       Bldg. &amp; Loan Ass’n, 207 N.C. 362, 363–64 (1934)), cert. denied, 563 U.S. 988 (2011).

¶ 20         The trial court’s legal conclusion that a parent acted inconsistently with his

       constitutionally protected status as a parent is reviewed de novo to determine

       whether the findings of fact cumulatively support the conclusion and whether the

       conclusion is supported by clear and convincing evidence. See Boseman v. Jarrell, 364

       N.C. 537, 549 (2010); Adams, 354 N.C. at 65–66. The trial court’s findings of fact are
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       conclusive on appeal if unchallenged, see Boseman, 364 N.C. at 549; Adams, 354 N.C.

       at 65–66, or if supported by competent evidence in the record, see In re L.R.L.B., 2021-

       NCSC-49, ¶ 11.

                                        IV.     Analysis

¶ 21         The trial court relied on the challenged findings of fact along with others, which

       in pertinent part are listed below, to support its conclusion that respondent acted

       inconsistently with his constitutionally protected right to parent Iliana:

                    26. Both [Patty and respondent] have acted inconsistently
                    with their constitutionally-protected right to parent the
                    minor child. Specifically, this court finds as follows:

                           a. [Patty and respondent] voluntarily placed the
                           minor child with her maternal grandmother on April
                           26, 2016 because of [Patty’s] impending
                           incarceration and [respondent’s] lack of suitable
                           housing and work schedule.

                           b. [Patty and respondent] have not obtained safe
                           and stable housing appropriate for the juvenile in
                           the three (3) years the juvenile has been out of their
                           custody. Though the home in which they were living
                           was found to have met minimum standards by
                           RCDSS on two visits between March 2, 2017 and
                           October 5, 2017, the home was deemed not suitable
                           for the minor child when RCDSS visited the home in
                           the spring of 2018 and again on 12/12/2018.

                           c. [Patty and respondent] continue to engage in
                           domestic violence and illegal drug use despite their
                           completion of treatment and classes.

                    27. When this hearing began on January 3, 2019, [Patty
                    and respondent] were still residing with [respondent’s]
                    mother in a home that Rockingham County DSS deemed
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unsuitable for the children as late as December 12, 2018.

28. [Patty and respondent] have made some limited
progress to remedy conditions that led to the minor child
being removed from their home. However, the issues of
substance use, domestic violence, and safe, substance-free
housing are still present despite numerous services that
have been offered to the family since the issues were first
identified in 2014.

....

30. . . . [Respondent] completed a domestic violence
perpetrator program at Alamance County DV Prevention
in February 2018. There has not been another identified
domestic violence incident between [Patty and
respondent], however there has been domestic violence in
the home between [respondent] and his mother . . . .

31. On August 23, 2018, law enforcement responded to a
domestic disturbance involving [respondent and his
mother] . . . , with whom [Patty and respondent] reside.
[Patty and respondent] were not home at the time of law
enforcement response. [Respondent] testified he and [his
mother] had a disagreement over his misplacing her
handicapped placard. He stated that he fell into the dryer
while [his mother] was in the bathroom, and then he left
the home.

32. [Patty and respondent] completed substance abuse
treatment with Freedom House Recovery in March 2018.
During the course of the case, [Patty and respondent] only
partially complied with random drug screens. Upon
remand of the case, OCDSS requested [Patty and
respondent] each complete hair follicle drug screens on
September 4, 2018. Both parents tested positive for
marijuana.

....

34. Despite [respondent] earning a gross income of
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$46,349.00 per year in a job he has maintained for 10 years
and [his mother] paying a portion of the household
expenses, [Patty and respondent] continue to reside with
their infant daughter and [respondent’s mother] . . . , with
whom they moved after eviction in 2016 in a two-bedroom
single wide trailer that has holes in the floor that were
recently covered with plywood at the request of RCDSS,
and that has not otherwise been maintained.

35. Rockingham County DSS completed multiple home
visits in 2018. The home was identified to need serious
repairs, specifically to the floor, that needed to be resolved
for safety; and the home continued to be extremely
cluttered akin to hoarding. The home was not deemed
appropriate for another juvenile to reside as recently as
December 12, 2018.

36. The GAL made two visits to [Patty and respondent’s]
home . . . prior to appeal of the last order. He recalled the
condition of the home to be similar to the description
testified to by [the CPS investigator] . . . .

37. At the continuation of this hearing on January 18,
2019, [Patty and respondent] provided photographs of the
home that showed somewhat improved conditions from the
conditions reflected in the photographs and testimony
presented on January 3, 2019. [Patty] testified that the
new photos were taken after the January 3, 2019 beginning
of the hearing. The court finds the testimony and
documentation of Rockingham County DSS to be credible,
and that the housing conditions of [Patty and respondent]
as of December 12, 2018 was not safe and appropriate for
[Iliana]. Any improvements made between the beginning
of this hearing and its conclusion are not indicative of the
day-to-day condition of the home.

38. [Patty and respondent] indicate they plan to reside
with [respondent’s mother] in the future despite the
ongoing concerns about the safety and appropriateness of
the condition of the home.[ ]
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                   39. [Patty and respondent] represent that their finances
                   are tight despite [respondent’s] stable employment where
                   he earns more than $46,000 per year. [Patty and
                   respondent] have two vehicle loans that total $519 per
                   month. . . . [Patty and respondent] do not pay rent to
                   [respondent’s mother], and they share utility expenses
                   with her. [Respondent’s mother] pays the mortgage on the
                   home and all of the car insurance is in her name.
                   [Respondent] pays $53 per week in child support.

                   ....

                   43. Pursuant to N.C.G.S. § 7B-906.2(d), the following
                   demonstrate a lack of success:

                          a. [Patty and respondent] are not making adequate
                          progress within a reasonable period of time under
                          the secondary plan of reunification. They have not
                          resolved the issues of substance abuse and
                          [u]nstable housing that led to [the] removal of
                          custody [of Iliana].

       A. Substance Abuse

¶ 22         Respondent challenges finding of fact 26(c) as unsupported by clear and

       convincing evidence. We first address his challenge to the portion of the finding

       addressing his substance abuse. We conclude the evidence clearly shows that

       respondent continued to engage in substance abuse after he completed the substance

       abuse treatment program.

¶ 23         In March 2018, respondent completed his court-ordered substance abuse

       treatment program. Yet, a month later, in April 2018, Patty exchanged text messages

       with respondent that displayed drug-seeking behavior. Respondent also continued to

       use marijuana despite his substance abuse history and tested positive for marijuana
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       in September 2018. Respondent concedes some of these facts expressly in his brief

       and also concedes them by not challenging these findings of fact by the trial court.

¶ 24         Furthermore, the evidence and testimony from the hearing tend to show that

       respondent’s substance abuse issue had persisted since RCDSS became involved with

       Iliana in 2014. In 2014, RCDSS was concerned that respondent was abusing

       substances. Respondent also repeatedly refused to submit to drug screens throughout

       the duration of this case, refusing a total of eleven out of thirty-one requested drug

       screens, and of the screens he completed, he tested positive for substances on two

       occasions.

¶ 25         Respondent asks this Court to reweigh the evidence and conclude that one

       positive drug screen does not establish that he continued to use illegal drugs as found

       by the trial court. However, the trial court was also presented with evidence that

       Patty exchanged text messages with respondent displaying drug-seeking behavior in

       April 2018, that respondent tested positive for marijuana after completing his court-

       ordered substance abuse treatment program in September 2018, and that respondent

       refused eleven out of thirty-one drug screens. Furthermore, respondent’s request is

       untenable; this Court reviews the trial court’s order to determine whether competent

       evidence supports the finding of fact and cannot reweigh the evidence when making

       this determination.

                    It is the trial court’s responsibility to pass upon the
                    credibility of the witnesses and the weight to be given their
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                    testimony and the reasonable inferences to be drawn
                    therefrom. Because the trial court is uniquely situated to
                    make this credibility determination appellate courts may
                    not reweigh the underlying evidence presented at trial.

       In re G.G.M., 377 N.C. 29, 2021-NCSC-25, ¶ 18 (cleaned up) (first quoting In re

       A.R.A., 373 N.C. 190, 196 (2019); then quoting In re J.A.M., 372 N.C. 1, 11 (2019)). In

       light of the aforementioned evidence and concessions by respondent, the portion of

       finding of fact 26(c) that respondent “continue[s] to engage in . . . illegal drug use

       despite [his] completion of treatment and classes” is plainly supported by clear and

       convincing evidence.

       B. Safe and Stable Housing

¶ 26         Respondent challenges findings of fact 26(b), 28, 37, and 43(a) as not supported

       by clear and convincing evidence.4 However, substantial evidence was presented to

       the trial court to support its findings that respondent did not have safe and stable

       housing for Iliana.

¶ 27         At the 3 January 2019 permanency-planning hearing, the Rockingham County

       CPS investigator testified that when he visited respondent’s mother’s home for the

       spring 2018 visit, the clutter in the home was piled to the ceiling in some areas and

       there were holes in the floor of the home covered with plywood. When the investigator


             4 Respondent also challenges the trial court’s finding that the guardian ad litem

       corroborated the RCDSS report of the condition of respondent’s mother’s home as being
       irrelevant. Since the finding is not necessary to our determination that the trial court’s
       findings are supported by clear and convincing evidence, we do not consider that challenged
       finding in our analysis.
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       returned to complete another visit on 12 December 2018, he found the same

       conditions present. The investigator stated that respondent’s mother’s home would

       pose safety concerns to Iliana, and he was unsure of where she would be able to sleep

       if respondent regained custody. Specifically, the investigator stated that respondent’s

       mother offered that Iliana could sleep on a “foldout couch,” but the investigator was

       “not sure how that would be folded out because [of] the size of the trailer.” Notably,

       respondent has not challenged finding of fact 35, in which the trial court found based

       on the investigator’s testimony that the house was deemed inappropriate for Iliana

       “to reside as recently as December 12, 2018.”

¶ 28         The investigator also testified that during his spring 2018 inspection, the holes

       in the floor of respondent’s mother’s home had plywood on it, but when he walked on

       it, he “could feel [the plywood] kind of bouncing a little bit.” The investigator notified

       respondent of the issues with the floor during that inspection. At the 12 December

       2018 inspection, when the investigator found the floor in the same condition,

       respondent’s mother asked the investigator not to include the flooring issue in his

       report, but nevertheless told the investigator that her in-home aide has shared

       concerns that she would fall through the floor. While respondent and Patty testified

       to placing new plywood over the holes in the floor after the 12 December 2018 home

       inspection, respondent had been aware of the ongoing safety concerns with his

       mother’s home since 2017. Additionally, Patty presented photographs of some
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       additional improvements made only after the 3 January 2019 hearing, but it was

       within the trial court’s authority to weigh this evidence with the other evidence before

       the trial court and find that the state of the home in the pictures was “not indicative

       of the day-to-day condition of the home.”

¶ 29         Furthermore, evidence from the hearing indicates that respondent has and

       continues to live in his mother’s home despite earning an income of more than

       $46,000.00 and maintaining stable employment for ten years yet had not obtained

       independent housing, despite OCDSS’s offers of assistance. Respondent also

       continues to live with Patty and their other child, but the trial court ceased efforts to

       reunify Iliana with Patty and Patty did not appeal the 18 August 2020 Court of

       Appeals decision to this Court. Respondent has no plans of moving out of his mother’s

       home, despite the ongoing safety concerns and overcrowded conditions, nor does he

       plan to live separately from Patty and their other child. Iliana would be subjected to

       living with Patty if she were returned to respondent’s care, despite the trial court’s

       conclusion that Patty acted inconsistently with her protected status as Iliana’s

       parent. As aptly stated by OCDSS, “[respondent] should not [be] confronted with a

       Sophie’s Choice between Iliana and [Patty] and their new [child],” which would

       impose further instability in an already precarious situation.

¶ 30         Respondent’s housing situation exposes Iliana to unsafe living conditions and

       exposes her to an unstable living environment. Therefore, we conclude that clear and
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       convincing evidence supports the trial court’s finding that respondent did not have

       safe and stable housing for Iliana.

       C. Domestic Violence

¶ 31         Respondent challenges findings of fact 26(c) and 30 as not supported by clear

       and convincing evidence. We agree with the Court of Appeals that the trial court

       mischaracterized the incident between respondent and his mother as involving

       physical violence when there was no evidence to support this characterization. See In

       re I.K., 848 S.E.2d at 20–21. Therefore, we disregard that portion of finding of fact 30

       as not supported by clear and convincing evidence. However, the unchallenged

       findings of fact documenting respondent’s past domestic violence and the domestic

       incident involving his mother support the trial court’s finding that domestic violence

       was an ongoing concern with respondent.

¶ 32         Specifically, domestic violence between respondent and Patty was identified as

       an ongoing issue since the first report was made to RCDSS in 2014. In 2016, a

       domestic violence incident occurred between them that led to respondent being

       convicted of assault on a female. Subsequently, in May 2017, respondent was ordered

       by the trial court to participate in a domestic violence perpetrator program in May

       2017. While respondent demonstrated a reluctance to participate by missing several

       sessions, respondent reported that he eventually completed the program in February

       2018. Nevertheless, only a few months later, respondent was involved in a domestic
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       disturbance involving his mother. The involvement of law enforcement was required

       to address the incident. The 911 call log indicated that respondent was “verbally

       aggressive towards his mother[ and] was tearing up [his mother’s] home that he also

       resides in” during the 2018 incident.

¶ 33         Considering the unchallenged findings of fact and evidence concerning

       respondent’s history with domestic violence and continued aggressive and violent

       behavior in the home in August 2018 after completing the domestic violence

       perpetrator program, we conclude that challenged findings of fact 26(c) and 30 are

       supported by clear and convincing evidence.

       D. Respondent Acted Inconsistently with his Constitutionally Protected
          Status as Iliana’s Parent

¶ 34         The Supreme Court of the United States has recognized that a natural parent

       has a constitutionally protected liberty interest in the custody, care, and control of

       his or her child. Quilloin v. Walcott, 434 U.S. 246, 255 (1978); see also Petersen v.

       Rogers, 337 N.C. 397, 402 (1994) (discussing that “North Carolina’s recognition of the

       paramount right of parents to custody, care, and nurture of their children antedates

       the constitutional protections set forth in” Stanley v. Illinois, 405 U.S. 645 (1972)). In

       ceasing reunification efforts with a parent and granting guardianship to a nonparent,

       there is no bright-line test to determine whether a parent’s conduct amounts to action

       inconsistent with his constitutionally protected status. Boseman, 364 N.C. at 549.

       “[E]vidence of a parent’s conduct should be viewed cumulatively.” Owenby v. Young,
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       357 N.C. 142, 147 (2003).

¶ 35         While there is no bright-line test, respondent’s actions displayed an

       unwillingness to act as Iliana’s parent. Reviewed by this Court de novo, the

       cumulative evidence, as discussed previously herein, supports the trial court’s

       findings that throughout OCDSS’s involvement with Iliana, respondent did not

       refrain from using illegal substances, respondent did not adequately address his

       issues with domestic violence, and respondent did not obtain safe and stable housing.

       In fact, in May 2016, respondent voluntarily placed Iliana with her maternal

       grandmother “until the housing situation was resolved.” Yet now, respondent states

       that he has no plans to move from the unsafe and crowded home, notwithstanding

       the fact that the home is totally unsuitable for Iliana. What may have begun as a

       temporary placement is now, by the respondent’s choice, an indefinite one.

¶ 36         Since the trial court’s findings of fact supporting its conclusion that respondent

       acted inconsistently with his constitutionally protected status as Iliana’s parent were

       supported by clear and convincing evidence and the findings support the trial court’s

       conclusion, the Court of Appeals did not err by affirming the trial court’s order.

                                        V.    Conclusion

¶ 37         The trial court’s challenged findings of fact regarding respondent’s substance

       abuse, lack of safe and stable housing, and domestic violence concerns are supported

       by clear and convincing evidence, and the findings of fact support the trial court’s
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conclusion that respondent acted inconsistently with his constitutionally protected

status as Iliana’s parent. As such, the trial court did not err by concluding that

respondent acted inconsistently with his constitutionally protected status as Iliana’s

parent. Accordingly, we affirm the decision of the Court of Appeals.

      AFFIRMED.
              Justice EARLS dissenting.


¶ 38          Unless a parent has been deemed unfit, an order awarding guardianship to a

       nonparent over a parent in the best interest of the child, as occurred in this case,

       requires the court to find, based on evidence in the record, that the parent has acted

       inconsistently with his or her constitutionally protected status as a parent. Price v.

       Howard, 346 N.C. 68, 79 (1997). Abdicating its dual responsibilities to follow

       precedent and uphold the federal constitution, the majority strains to find sufficient

       facts in this case supporting such a conclusion. If we are not more careful, literally

       thousands of parents will be swept into the net of potentially losing their parental

       rights by virtue of their poverty. Such a result is contrary to our constitutional

       guarantees. As we said in Price, “[i]f a natural parent’s conduct has not been

       inconsistent with his or her constitutionally protected status, application of the ‘best

       interest of the child’ standard in a custody dispute with a nonparent would offend the

       Due Process Clause.” Id. Courts cannot take children away from their natural parents

       merely because another person could provide a materially better home.

¶ 39          Respondent made the difficult decision on 26 April 2016 to send his daughter

       (Iliana)1 to live with her grandmother while he settled his housing situation and

       received substance abuse treatment. Respondent ultimately completed a substance

       abuse treatment program in March 2018. The record also reveals one incidence of


              1 As does the majority, I use a pseudonym to protect the juvenile’s identity and for

       ease of reading.
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       domestic violence between respondent and his partner (Patty)2 for which respondent

       received treatment, completing a “domestic violence perpetrator program at

       Alamance County DV Prevention in February 2018.” After completing the substance

       abuse treatment program, the record and the trial court’s findings indicate that

       respondent tested positive for marijuana on one occasion, on 4 September 2018.

       Moreover, the record and the trial court’s findings indicate that, after completing the

       domestic violence perpetrator program, respondent had a loud argument with his

       mother that prompted a call to law enforcement.

¶ 40         At the time of the permanency planning hearing, respondent and Patty were

       living in a two-bedroom mobile home with respondent’s mother and respondent’s and

       Patty’s infant daughter. They had been living there since being evicted in 2016. That

       mobile home was deemed to meet minimum standards on two visits in 2017 but was

       then deemed to be unsuitable on two visits in 2018, the last of which was on 12

       December 2018. Between the hearings on 3 January 2019 and 18 January 2019,

       respondent and Patty improved the condition of the home and provided photographs

       of the same to the trial court at the 18 January hearing.

¶ 41         The majority has determined that respondent’s failure to timely repair the

       damaged floor of the mobile home or to obtain new housing, along with his positive

       test for marijuana and loud argument with his mother (the majority describes the


             2 As does the majority, I use a pseudonym for Iliana’s mother.
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       argument as “a domestic incident”), sufficiently establish that respondent has acted

       inconsistently with his constitutionally protected status as a parent. In my view, this

       low bar is inconsistent with our precedent and seriously threatens the stability of

       families throughout the state. There is no record evidence that respondent willfully

       acted to subvert his constitutional rights. Instead, the majority’s decision to disrupt

       his constitutional interest in the upbringing of his daughter poses a threat to families

       who may be forced by financial constraints to put off home repairs, or who need to

       place their children with family members when times are hard or while dealing with

       personal issues. I do not read the record as supporting the conclusion that respondent

       has acted inconsistently with his constitutionally protected status as a parent, nor do

       I read the law as permitting such a conclusion where a parent has not acted in

       conscious disregard of their parental obligations. I respectfully dissent.

                                      I.   Findings of Fact

¶ 42         Respondent has argued in substance that three of the trial court’s factual

       findings are unsupported by the record: (1) that respondent failed to obtain safe and

       stable housing, (2) that respondent continued to engage in domestic violence after

       having received treatment, and (3) that respondent continued to have a substance

       abuse problem after having received treatment. The trial court’s findings that

       respondent “continue[d] to engage in domestic violence and illegal drug use despite

       [his] completion of treatment and classes” are unsupported by the record. As a result,
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       these findings cannot support the conclusion that respondent has lost his

       constitutional rights to his child. Although I might have found differently from the

       trial court, I agree with the majority that the trial court’s conclusion that respondent

       had “not obtained safe and stable housing appropriate for the juvenile” is supported

       by the record. In the context of this case, however, that finding is not sufficient to

       conclude that respondent acted inconsistently with his constitutionally protected

       status as a parent.

       A. Safe and Stable Housing

¶ 43         I agree with the majority’s determination “that clear and convincing evidence

       supports the trial court’s finding that respondent did not have safe and stable housing

       for Iliana.” The trial court found that, on two occasions in the year leading up to the

       commencement of the permanency planning hearing, the home in which respondent

       and Patty were living had been “deemed not suitable for [Iliana].” This finding was

       supported by testimony from Jordan Houchins, an investigator with Rockingham

       County Child Protective Services, who stated that he visited the home in spring 2018

       and again in December 2018. Mr. Houchins testified that, in addition to problems

       with the flooring and some clutter, the home was not large enough for another child

       as well as the home’s current occupants, particularly given the “pretty serious health

       issues” of respondent’s mother.

¶ 44         Respondent argues that he “addressed Mr. Houchins’ concerns by replacing the
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       portions of the floor that were unsound and removing items from the home that

       contributed to the clutter.” However, repairing the floors and removing some items

       from the home does not address the crowded conditions identified by Mr. Houchins.

       Indeed, the trial court credited the testimony of Mr. Houchins, who testified that

       “[e]ven if [the mobile home] wasn’t cluttered, it’s very small” and identified the

       number of people in the home as a concern. The trial court acted appropriately within

       its role as factfinder when it determined that the improvements made by respondent

       were “not indicative of the day-to-day condition of the home” and the improvements

       were not enough to overcome the conclusions of the most recent report of the CPS

       investigator and convince the trial court that the home was now safe and appropriate

       for Iliana.

¶ 45          However, there are plenty of parents and families in our state who experience

       housing insecurity. Sometimes families are forced to live in cramped conditions. It

       seems unusually cruel to scrutinize families who are struggling to obtain adequate

       housing and use the lack of enough bedrooms to justify taking away their children.

       As discussed in more detail below, the simple fact of living in poor housing conditions

       is not enough to support the conclusion that a parent has acted inconsistently with

       their constitutionally protected interest in their child. In the absence of any clear and

       convincing evidence that respondent had better housing options available and chose

       this one in contravention of his parental obligations, there is no logical connection
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       between respondent’s housing insecurity and the conclusion that he has acted

       inconsistently with his constitutionally protected status as a parent. Cf. Owenby v.

       Young, 357 N.C. 142, 147 (2003) (a father’s drunk driving was not conduct

       inconsistent with his constitutionally protected status as a parent because the

       children were not in the car or living with him at the time). Mere supposition about

       what the respondent’s income might have enabled him to rent is not enough. As a

       result, while the trial court’s finding on this point is supported by the record, that

       finding does not include the element of volitional conduct that is necessary to support

       the conclusion that respondent’s constitutional interest in his child should be severed.

¶ 46         The majority also mentions the fact that respondent continues to live with

       Patty and intends to continue doing so. The majority notes that Patty did not appeal

       the decision below to this Court, leaving intact the trial court’s determination that

       she has engaged in conduct inconsistent with her constitutionally protected status as

       a parent. This is a particularly unfair and unjustified argument. Patty’s conduct is

       not conduct on the part of respondent that is inconsistent with respondent’s

       obligations as a parent. Moreover, there was never a court order that Patty be kept

       away from Iliana or other evidence that would make respondent’s decision to live with

       her detrimental to his ability to be a parent.

       B. Domestic Violence

¶ 47         The trial court’s finding that domestic violence continued in respondent’s home
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       was unsupported. Instead, the evidence in the record at most supports the conclusion

       that respondent engaged in a loud argument with his mother.

¶ 48         In support of its conclusion that respondent had “acted inconsistently with [his]

       constitutionally-protected right to parent” Iliana, the trial court found that

       respondent “continue[d] to engage in domestic violence.” The trial court elaborated,

       finding that respondent “completed a domestic violence perpetrator program at

       Alamance County DV Prevention in February 2018.” The trial court also noted that

       “[t]here has not been another identified domestic violence incident between

       [respondent and Patty].” The trial court, however, stated that “there has been

       domestic violence in the home between [respondent] and his mother.” This finding

       was unsupported.

¶ 49         The trial court wrote that “law enforcement responded to a domestic

       disturbance involving [respondent] and paternal grandmother” and that respondent

       “testified he and [his mother] had a disagreement over his misplacing her

       handicapped placard. He stated that he fell into the dryer while [his mother] was in

       the bathroom, and then he left the home.” The record indicates that respondent’s

       mother “reported it had been a ‘family disagreement.’ ” There is no evidence in the

       record that respondent was violent toward his mother, that respondent was violent

       toward his mother’s property, or that there was any law enforcement involvement

       related to the incident other than responding to a call about a disturbance. The record
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       does not support the majority’s factual finding that respondent engaged in

       “aggressive and violent behavior,” nor does the record support the trial court’s factual

       finding that respondent “continue[d] to engage in domestic violence.”

       C. Drug Use

¶ 50         The trial court’s findings that respondent “continue[d] to engage in illegal drug

       use” and that “the issue[ ] of substance use” was “still present despite numerous

       services that have been offered” are similarly unsupported. As the trial court

       acknowledged, the only evidence that respondent continued to use illegal drugs after

       receiving substance abuse treatment was one positive drug screen for marijuana on

       4 September 2018. However, this drug screen was followed by three negative drug

       screens in the months leading up to the permanency planning hearing. Moreover, this

       was the only positive drug screen from May 2016 through December 2018.

¶ 51         The majority characterizes respondent’s request that we conclude the trial

       court’s findings were not supported by the record as a request to “reweigh the

       evidence.” However, this characterization is off the mark. It is, of course, our job on

       appellate review to look to the record and determine whether the trial court’s findings

       are supported by the evidence. In this case, a review of the relevant record evidence

       reveals no record that respondent had a problem with substance abuse, or even that

       respondent used illegal drugs on more than one occasion in over two years.

¶ 52         The majority leans heavily on the fact that “throughout the duration of this
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       case,” respondent refused eleven out of thirty-one requests for drug screens. What the

       majority overlooks is that from November 2016 through December 2018, respondent

       was in fact tested (meaning that he did not refuse the test) at least one time each

       month and received a negative test result. The only exceptions are a positive test in

       January 2017 for oxycodone, for which respondent provided a prescription, and the

       one positive test for marijuana in September 2018. Against this backdrop, in which

       it is clear from the record that respondent tested negative for drugs each month for

       more than two years and had just one positive drug test for a nonprescription drug in

       that time, it is astoundingly disingenuous for the majority to conclude that the record

       supports the trial court’s finding that respondent continued to engage in illegal drug

       use despite the completion of substance abuse treatment. Even more disingenuous is

       the majority’s reliance on the fact that “Patty exchanged text messages with

       respondent that displayed drug-seeking behavior.” The majority neglects to mention

       the trial court’s finding that the text messages evidenced drug-seeking behavior on

       the part of Patty, not on the part of respondent.

                                   II.   Legal Conclusions

¶ 53         The trial court’s remaining factual findings establish that respondent failed to

       secure adequate housing despite seemingly making enough money to afford better

       housing or to improve the existing housing. This finding is not sufficient to support

       the conclusion that respondent acted inconsistently with his constitutionally
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       protected status as a parent. “North Carolina law traditionally has protected the

       interests of natural parents in the companionship, custody, care, and control of their

       children, with similar recognition that some facts and circumstances, typically those

       created by the parent, may warrant abrogation of those interests.” Price, 346 N.C. at

       75. For example, the interest may be overcome “when a parent neglects the welfare

       and interest of his child.” Id. (quoting In re Hughes, 254 N.C. 434, 437 (1961)).

¶ 54         As explained in more detail below, a conclusion that this interest has been

       overcome requires factual findings that a parent has willfully acted contrary to their

       parental obligations. Without evidence that respondent chose to live in substandard

       conditions in contravention of his obligations to Iliana, the findings related to

       respondent’s housing are insufficient to support the necessary legal conclusion.

¶ 55         The majority fails to discuss any of our relevant precedent and summarily

       concludes that: “[w]hile there is no bright-line test, respondent’s actions displayed an

       unwillingness to act as Iliana’s parent.” But see Price, 346 N.C. at 75 (“[P]rior cases

       of this Court are instructive on the issue [of whether a parent’s constitutionally

       protected interest must prevail] because they show how we have addressed custody

       issues in a wide variety of circumstances.”). A review of our prior cases demonstrates

       that respondent’s actions in this case do not rise to the level of conduct that we have

       previously found to be inconsistent with the constitutionally protected status as

       parent.
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¶ 56         In an early case on the issue before us here, we considered a custody dispute

       between a biological mother and a non-biological father. Price, 346 N.C. at 70–71.

       From the time that the child was born, the mother had represented that the man she

       lived with at the time was the child’s biological father. Id. at 71. However, the parents

       separated just a few years after the child’s birth. Id. The child lived primarily with

       the purported father, although she also spent some time with her mother. Id.
       Approximately three years after the separation, the purported father sued for custody

       when the mother attempted to have the child’s school records transferred to another

       county’s school system. Id.
¶ 57         We concluded that the record was not sufficient to determine whether the

       mother had acted inconsistently with her constitutional right to parent. Id. at 84. The

       trial court had “made no findings about whether defendant and plaintiff agreed that

       the surrender of custody would be temporary, or about the degree of custodial,

       personal, and financial contact defendant maintained with the child after the parties

       separated.” Id. If the mother had “represented that plaintiff was the child’s natural

       father and voluntarily given him custody of the child for an indefinite period of time

       with no notice that such relinquishment of custody would be temporary,” we would

       have held that the mother had acted inconsistently with her constitutional right to

       parent. Id. at 83. This is because, in that case, the mother “would have not only

       created the family unit that plaintiff and the child [had] established, but also induced
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       them to allow that family unit to flourish in a relationship of love and duty with no

       expectations that it would be terminated.” Id.
¶ 58         In another case, we considered a custody dispute between a child’s biological

       mother, biological father, and maternal grandparents. Adams v. Tessener, 354 N.C.

       57, 58 (2001). The mother and father had a one-night stand that eventually resulted

       in the child’s birth. Id. at 63–64. The mother informed the father that she was

       pregnant, but the father “took no action at that time.” Id. at 58. Approximately four

       months after the child was born, the mother again contacted the father and told him

       that he would be contacted by the Department of Social Services regarding child

       support. Id. at 59. The father “made no inquiry concerning [the child].” Id. However,

       the father signed a voluntary support agreement and began making child support

       payments after DSS conducted a DNA test and determined that he was the father.

       Id. Some months later, after completing three visits with the child, the father sought

       to intervene in an existing custody action between the mother and maternal

       grandparents and sought custody of the child. Id. We concluded that the father’s

       conduct had been inconsistent with his constitutionally protected interest in the

       child. Id. at 66. We noted that the father had “elected to do ‘nothing’ about the

       pregnancy and impending birth” upon being informed about the pregnancy. Id. We

       also considered that the father had made no inquiries with the child’s mother about

       the child’s “health and progress” nor had he made any further inquiry as to “whether
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       he had fathered the child.” Id. We concluded that this failure to involve himself in the

       child’s life supported the trial court’s conclusion that the father had acted

       inconsistently with his rights to the child. Id.
¶ 59          We have also held that a mother’s “lifestyle and romantic involvements,”

       including her employment as a topless dancer, resulting in her “neglect and

       separation from the child” amounted to conduct inconsistent with the right to parent.

       Speagle v. Seitz, 354 N.C. 525, 528, 534 (2001). The evidence in that case further

       indicated that the mother had conspired with a boyfriend to kill the child’s father,

       even though she was acquitted of criminal charges. Speagle, 354 N.C. at 532–33; see

       also Owenby, 357 N.C. at 147 (discussing Speagle).

¶ 60          In Owenby v. Young, however, we affirmed a trial court’s conclusion that a

       parent’s “protected status as parent was not constitutionally displaced.” 357 N.C. at

       148. The parent in that case, the father of two children, had divorced the children’s

       mother seven years before the mother’s death in a plane crash. Id. at 142. Prior to

       her death, the mother had primary custody while the father had “secondary custody,

       structured as visitation.” Id. The children’s maternal grandmother sought custody of

       the children, arguing that their father had problems with alcohol abuse, was

       financially unstable, and sometimes drove without a license. Id. at 143. The Court of

       Appeals opinion contains additional information about the evidence presented to the

       trial court:
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                    A two-day hearing was held on 7 and 18 December
            2000 to determine if Plaintiff had standing to seek custody
            of Trey and Taylor. The trial court stated Plaintiff's burden
            was “to show [Defendant] to be unfit or in some other way
            to have acted . . . in a [manner] inconsistent with the
            parental relationships.” At the hearing, Defendant
            testified he has driven while impaired and has also driven
            without a license. At times, Defendant has “operated a
            vehicle[ ] and consumed alcohol at the same time.”
            Defendant also testified that while he knew it was wrong,
            he has allowed others to drive his children in the recent
            past while the individuals were consuming alcohol.
            According to Defendant, the children have spent a
            significant part of their lives in McDowell County, living
            either with or in proximity to Plaintiff.

                  Both Trey and Taylor testified they often smelled
            alcohol on Defendant’s breath. Trey stated that on several
            instances in the past, he has ridden in a vehicle with
            Defendant while Defendant drank beer. In addition, Trey’s
            paternal uncle, while drinking, has driven Trey, Taylor,
            and Defendant to Charlotte.

                   Taylor testified that on more than one occasion, he
            has ridden in a car with Defendant while Defendant and
            others consumed alcohol while driving. On one occasion,
            when the children’s paternal uncle was drinking alcohol
            and driving, the children were involved in an automobile
            accident but were not severely injured. Taylor stated that
            he did not feel good about riding with his father because he
            was “afraid [Defendant] might . . . [drink] and [they] would
            get in a wreck again.” Both children testified that when
            Defendant drinks alcohol, he becomes upset and agitated
            with Trey and Taylor. The two minor children were aware
            Defendant’s driver’s license was suspended, he often
            operated a vehicle while drinking alcohol or being under its
            influence, and Defendant operated a vehicle on several
            occasions while his license had been revoked.

Owenby v. Young, 150 N.C. App. 412, 413–14 (2002) (alterations in original).
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¶ 61         The trial court determined that the father had a consistent employment history

       and improved finances, that most instances of his driving without a license were not

       on public roads, and that the father did not have a problem with alcohol abuse (going

       so far as to conclude that two convictions for driving while impaired did not raise an

       inference of “a problem with alcohol abuse”). Owenby, 357 N.C. at 143–44. This Court

       agreed, noting that it was of significance that the father “did not have primary

       custody of the children, nor were they accompanying him, on either of the occasions

       for which he received a driving while impaired citation.” Id. at 147. We concluded

       that the child’s maternal grandmother “failed to carry her burden of demonstrating

       that defendant forfeited his protected status” and reversed the Court of Appeals,

       reinstating the trial court’s order. Id. at 148.

¶ 62         Our decisions in Price, Adams, and Speagle all involved a consistent defining

       feature: volitional conduct on the part of the parent intended in contravention of their

       parental obligations. For example, the mother in Price actively represented that the

       child’s purported father was the biological father and voluntarily relinquished

       custody to the purported father. Price, 346 N.C. at 83. We determined that this

       conduct would be inconsistent with the constitutionally protected parent status if the

       mother had not made clear that the arrangement was temporary, because it would

       have actively “induced [father and child] to allow that family unit to flourish” without

       her. Id. Similarly, in Adams, the father ignored the existence of his child despite
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       repeated contact from the child’s mother. Adams, 354 N.C. at 58–59. When we

       determined that the father’s conduct was inconsistent with his constitutionally

       protected parent status, we did not focus our determination merely on the father’s

       absence—instead, we discussed the father’s decision to be absent from his child’s life.

       Id. at 66. Finally, in Speagle, the Court held that evidence that a mother had some

       involvement in a conspiracy to murder her child’s father was relevant and if proven

       by a preponderance of the evidence, such conduct would be inconsistent with her

       constitutionally protected status as a parent. Speagle, 354 N.C. at 532–34. In each

       case, the parent engaged in willful conduct evidencing an intention to act

       inconsistently with their obligations as a parent.

¶ 63         In the instant case, no such willful conduct exists. The only evidence of drug

       use by respondent following treatment is a single positive test for marijuana in over

       two years of consistent testing. Similarly, the only evidence of domestic violence is a

       loud argument with respondent’s mother. Neither of these isolated incidents supports

       the conclusion that respondent acted willfully in contravention of his parental

       obligations.

¶ 64         This leaves the trial court’s findings that respondent lived in housing

       conditions that were not appropriate for Iliana to reside in. While, as discussed above,

       I agree that the trial court’s findings are supported by the evidence, this does not

       indicate that respondent acted contrary to his parental obligations. As the trial court
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noted, respondent improved the condition of the home between the hearing’s

commencement on 3 January 2019 and the hearing’s second day on 18 January 2019.

At the same time, there is no evidence in the record that respondent had better

housing options available—instead, the trial court found that respondent and Patty

had been living with respondent’s mother since being evicted in 2016. In the absence

of any evidence that respondent had better options available, it cannot be said that

respondent’s living conditions are “conduct” on his part that is inconsistent with his

constitutionally protected status as a parent. Indeed, the evidence that respondent

improved (albeit not sufficiently) the conditions of the home prior to the hearing on

18 January 2019 suggest that he was attempting to live up to his obligations as a

parent. As a result, applying the rule that is apparent from our decisions in similar

cases, it is inappropriate to conclude that respondent has forfeited his constitutional

interest in Iliana. The majority’s characterization of respondent’s living situation as

a choice resulting in Iliana’s indefinite absence from the home does nothing to create

the missing factual findings which are necessary to show that respondent, with other

options available to him, actually chose to live in housing that would not and could

not support his daughter.3




       3 Ironically, the majority writes that respondent should not be confronted with the

“Sophie’s Choice” of choosing between living with Iliana on the one hand and living with
Patty and his new child on the other. In fact, it is only the majority’s decision here that would
have forced him to do so.
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¶ 65         A more direct application of and comparison to the decisions in the cases cited

       above suggests that respondent’s conduct was consistent with his constitutionally

       protected status as a parent. As in Price, this case “involves a period of voluntary

       nonparent custody rather than unfitness or neglect.” Price, 346 N.C. at 82. However,

       unlike Price, there is no indication in the record that respondent “represented to

       [Iliana] and to others that [her maternal grandmother] was [Iliana’s] natural

       [mother].” Id. at 83. Moreover, the circumstances of the relinquishment made clear

       from the outset that it was to be temporary—respondent placed Iliana in the care of

       her maternal grandmother because of respondent’s work schedule and because of

       respondent’s lack of adequate housing and agreed it would last “until the housing

       situation was resolved and [respondent and Patty] engaged in substance abuse

       treatment.” Whereas we determined that “relinquishment of custody” to a nonparent

       “for an indefinite period” would be conduct inconsistent with the constitutional right

       to parent in Price because such conduct would have “created the family unit that [the

       nonparent] and the child have established” and “also induced them to allow that

       family unit to flourish in a relationship of love and duty with no expectations that it

       would be terminated,” Price, 346 N.C. at 83, no such concerns are present here. The

       present case presents precisely the scenario we envisioned in Price, where a parent’s

       decision to temporarily send a child elsewhere could be action consistent with their

       obligations as a parent and therefore consistent with their constitutionally protected
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       status as a parent. See id. (“We wish to emphasize this point because we recognize

       that there are circumstances where the responsibility of a parent to act in the best

       interest of his or her child would require a temporary relinquishment of custody, such

       as under a foster-parent agreement or during a period of service in the military, a

       period of poor health, or a search for employment.”).

¶ 66         The father in Adams showed almost no interest in the existence of his child,

       and his absence from the child’s life was a result of his failure to involve himself

       despite repeated contact from the mother. Adams, 354 N.C. at 58–59. By contrast,

       there is no evidence in the present case that respondent abandoned Iliana. Rather,

       respondent’s decision to place Iliana with a nonparent custodian appears to have been

       an act of parental responsibility, as the trial court found that the placement was made

       voluntarily in acknowledgment that respondent needed to improve Iliana’s home life.

       Similarly, respondent has not shown the type of conduct inconsistent with parental

       status as was demonstrated in Speagle—no evidence in the record indicates that

       respondent was involved in murdering Iliana’s mother or indeed that respondent

       engaged in any other seriously illegal conduct even potentially injurious to his ability

       to parent Iliana.

¶ 67         Respondent’s conduct in this case does not arise nearly to the level of conduct

       which we have previously found to forfeit a parent’s constitutional interest in their

       child. Instead, the record evidence shows that respondent has responded well to
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treatment for substance abuse and domestic violence but remains in a difficult

housing situation. I do not believe that the law permits a difficult housing situation,

without evidence that it results from a parent’s decision in contravention of that

parent’s obligations to a child, to sever the constitutionally protected tie between

parent and child. I respectfully dissent from the majority’s decision.
